    Case: 5:03-cv-00494-KSF-JBT Doc #: 30 Filed: 08/17/05 Page: 1 of 2 - Page ID#: 400
.
                                                                Eastern Dist,r:c; of Kentucke
                           UNITED STATES DISTRICT COURT                FSILEiD
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION                     AUG 1 7 2005
                                                                        AI L ~ x I N G ~ O I .
                                                                      LESLIk G W t i ln"€'-(
    REPUBLIC SERVICES, INC.                                        CLERK^^+$^^&

    V.


                                          CIVIL ACTION NO. 5:03-CV-00494-KSF


            PLAINTIFF, REPUBLIC SERVICES INC.'S         NOTICE OF FILING


    LIBERTY MUTUAL INSURANCE
    COMPANY, et al.                                                     DEFENDANTS

                              **     **    **    **    **
          Comes the Plaintiff, Republic Services, Inc., by counsel, and
    provides notice that it has filed in the record copies of the

    following materials:
          1.    Plaintiff, Republic Services Inc.' s FRCP 26 (a) Expert
    Witness Disclosure for Timothy K. Snoddy, with attachment of Mr.
    Snoddy's report, all exhibits thereto, and his curriculum vitae;

          2.    Plaintiff, Republic Services Inc.'s FRCP 26(a) Expert

    Witness Disclosure for Thomas L. Ballard, with attachment of Mr.
    Ballard's report, all exhibits thereto, and his curriculum vitae;
          3.    Plaintiff, Republic Services Inc.'s FRCP 26(a) Expert
    Witness Disclosure for Edgar W. Davenport, with attachment of Mr.
    Davenport's report, all exhibits thereto, and his curriculum vitae;
          4.    Plaintiff, Republic Services Inc.'s Supplemental FRCP
    26(a) Expert Witness Disclosure for Dr. J. Michael LeVan, with




                                          -1-
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attachment of Dr. LeVan's supplemental report, all exhibits thereto

and his curriculum vitae; and

       5.    Plaintiff, Republic Services Inc.'s Corrected FRCP 26(a)

Expert Witness Disclosure for David W. O'Brien, along with Mr.

O'Brien's curriculum vitae.

                                            Respectfully submitted,




                                            Robert E. Maclin, 111, Esq.
                                            Brent L. Caldwell, Esq.
                                            David A. Cohen, Esq.
                                            MCBRAYER, MCGINNIS, LESLIE
                                            & KIRKLAND, PLLC
                                            201 East Main Street, Suite 1000
                                            Lexington, KY 40507-1361
                                            Telephone: (859) 231-8780
                                            ATTORNEYS FOR PLAINTIFF,
                                            REPUBLIC SERVICES, INC.

                                CERTIFICATE OF SERVICE

       It is hereby certified that a true copy of the foregoing has

been served this I
                         I?
                           I
                               a day of August, 2005, by first class US Mail,
postage pre-paid, to the following:

J. Clarke Keller, Esq.
Gregory P. Parsons, Esq.
STITES & HARBISON, PLLC
250 West Main Street, Suite 2300
Lexington, Kentucky 40507
ATTORNEYS FOR DEFENDANTS,
THE LIBERTY COMPANIES



                                            ATTORNEYS FOR PLAINTIFF,
                                            REPUBLIC SERVICES, INC.
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